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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                            22-80056-Cr-Middlebrooks/Matthewman
                              CASE NO. _ _ _ _ _ _ _ _ _ __
                                       21 u.s.c. § 846
                                       21 U.S.C. § 853(a)

  UNITED STATES OF AMERICA
                                                                                      TM
  v.
                                                                           Apr 21, 2022
  KEVIN CHRISTIAN FUSCO,

         Defendant.
  _______________   /
                                                                                         West Palm Beach



                                            INFORMATION

          The United States Attorney charges that:

                                              COUNTl
                           Conspiracy to Distribute a Controlled Substance
                                          (21 u.s.c. § 846)

          From in or around December 2021 , the exact date being unknown to the United States

  Attorney, and continuing through on or about March 10, 2022, in Palm Beach County, in the Southern

  District of Florida, and elsewhere, the defendant,

                                     KEVIN CHRISTIAN FUSCO,

  did knowingly and willfully combine, conspire, confederate, and agree with other persons, known and

  unknown to the United States Attorney, to distribute a controlled substance, in violation of Title 21,

  United States Code, Section 841(a)(l); all in violation of Title 21, United States Code, Section 846.

          It is further alleged that the controlled substance involved in the conspiracy attributable to

  KEVIN CHRISTIAN FUSCO, as a result of his own conduct, and the conduct of other conspirators

  reasonably foreseeable to him, is: (a) 50 grams or more of methamphetamine, in violation of Title 21,

  United States Code, Section 84l(b)(l)(A)(viii); (b) 400 grams or more of a mixture or substance

  containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide,

  commonly known as "fentanyl," in violation of Title 21, United States Code, Section 841(b)(l)(A)(vi);
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  (c) a mixture or substance containing a detectable amount of heroin, in violation of Title 21, United

  States Code, Section 84l(b)(l)(C); (d) a mixture or substance containing a detectable amount of 3,4-

  methylenedioxy-methamphetamine, commonly known as "ecstasy" or "molly," in violation of Title

  21 , United States Code, Section 84l(b)(l)(C); and (e) a mixture or substance containing a detectable

  amount ofketamine, in violation of Title 21 , United States Code, Section 84l(b)(l)(E)(i)

                                    FORFEITURE ALLEGATIONS

            1.     The allegations of this Information are re-alleged and by this reference fully

  incorporated herein for the purpose of alleging criminal forfeiture to the United States of America

  of certain property in which the defendant, KEVIN CHRISTIAN FUSCO, has an interest.

            2.     Upon conviction of a violation of Title 21 , United States Code, Sections 846 and/or

  841 , as alleged in this Indictment, the defendant shall forfeit to the United States of America any

 property constituting, or derived from, any proceeds obtained, directly or indirectly, as the result

 of such offense, and any property used, or intended to be used, in any manner or part, to commit,

 or to facilitate the commission of, such violation, pursuant to Title 21 , United States Code, Section

  853(a).

            All pursuant to the procedures set forth at Title 21, United States Code, Section 853.




                            ORNEY




                                                     2
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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                      CASE NO.:

v.
                                                              CERTIFICATE OF TRIAL ATTORNEY*
KEVIN CHRISTIAN FUSCO,

- - - - - - - - - - - - - -I                                  Superseding Case Information:
                   Defendant.
Court Division (select one)                                   New Defendant( s) (Yes or No)
   □ Miami        □ Key West               □ FTP              Number of New Defendants
   □ FTL          0 WPB                                       Total number of New Counts

I do hereby certify that:
     1.    I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
           witnesses and the legal complexities of the Indictment/Information attached hereto.

     2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
           their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.    Interpreter: (Yes or No) No
           List language and/or dialect:
     4.    This case will take 6    days for the parties to try.

     5.    Please check appropriate category and type of offense listed below:
           (Check only one)                          (Check only one)
           I     D Oto 5 days                    □ Petty
           II    El 6to l0days                   D Minor
           III   D 11 to 20 days                 □   Misdemeanor
           IV    D 21 to 60 days                 GI Felony
           V     D 61 days and over

     6.    Has this case been previously filed in this District Court? (Yes or No) No
           If yes, Judge                                  Case No .
     7.    Has a complaint been filed in this matter? (Yes or No) Yes
           If yes, Magistrate Case No. 22-mj-8078-RMM
     8.    Does this case relate to a previously filed matter in this District Court? (Yes or No) No
           If yes, Judge                                     Case No.
     9.    Defendant(s) in federal custody as of       March 10, 2022
     10.   Defendant(s) in state custody as of
     11.   Rule 20 from the                  District of
     12.   Is this a potential death penalty case? (Yes or No) No
     13.   Does this case originate from a matter pending in the Northern Region of the U.S. Attorney ' s Office
           prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
     14.   Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
           prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No)No




                                                              By:
                                                                        DANIEL E. FUNK
                                                                        Assistant United States Attorney
                                                                        FLA Bar No.       0592501
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. - - - - - - -

                                         PENALTY SHEET

  Defendant's Name: KEVIN CHRISTIAN FUSCO

   COUNT    VIOLATION                        U.S . CODE                MAX. PENALTY
   1        Conspiracy to Distribute a       21 U.S.C. §§ 841(a)(l),   Up to life imprisonment;
            Controlled Substance             (b)(l)(A) and 846         Minimum of 10 years'
                                                                       imprisonment;
                                                                       Up to $10,000,000 fine;
                                                                       Supervised release of at least 5
                                                                       years and up to !ife;
                                                                       $100 special assessment
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AO 455 (Rev. 01/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                          for the
                                                 SouthernDistrict
                                              __________ Districtofof__________
                                                                      Florida

                  United States of America                   )
                             v.                              )     Case No.
                KEVIN CHRISTIAN FUSCO,                       )
                                                             )
                             Defendant                      )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:
                                                                                       Defendant’s signature




                                                                                  Signature of defendant’s attorney

                                                                                        Caroline McCrae
                                                                              Printed name of defendant’s attorney




                                                                                         Judge’s signature

                                                                           Bruce E. Reinhart, U.S. Magistrate Judge
                                                                                   Judge’s printed name and title
